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                                  Uncertified Duplicate produced 03/07/2025 from USCIS CMS; A-Number 245614060




U.S. Department of Homeland Security                                                                         Order of Release on Recognizance
                                                                                                                              File No: A245 614 060
                                                                                                                              Date: December 17, 2023
                                                                                                                              Event No:EGT2412000586
Name: CRISTHIAN ADRIAN ORTEGA-LOPEZ

You have been arrested and placed in removal proceedings. In accordance with section 236 of the Immigration and Nationality Act
and the applicable provisions of Title 8 of the Code of Federal Regulations, you are being released on your own recognizance
provided you comply with the following conditions:




                                                                                                                                      TE
 ✖ You must report for any hearing or interview as directed by the Department of Homeland Security or the Executive Of
                                                                                                                    Office for
Immigration Review.




                                                                                                A
✖    You must surrender for removal from the United States if so ordered.




                                                                                             IC
✖    You must report in (writing)
                         xxxxx (person) to                     AS INDICATED ON THE ATTACHED OREC G-56
                                                                                         (Name and Title of Case Officer)

at                                                                                        on                                                        at




                                                                                           PL
                                     (Location of DHS Office)                                              (Day of each week or month)
                                                                                                                                m                                (Time)

If you are allowed to report in writing, the report must contain your name, alien registration
                                                                                      stration
                                                                                       tration nnumb
                                                                                                number, current address, place of
employment, and other pertinent information as required by the officer listed above.e.

✖                                                                             n permission from the immigration officer listed above.
     You must not change your place of residence without first securing written
                                                                                         DU
✖    You must not violate any local, State, or Federal laws or ordinances.
✖ You must assist the Department of Homeland Security in obtaining any necessary travel documents.
✖ Other: THAT YOU DO NOT COMMIT ANY CRIMES WHILE                 E ON THIS
                                                                        TH     ORDER OF RELEASE.
                                     D
                                   IE


     See attached sheet containing other specified conditions (Continue    separate sheet if required)
                                                               Continue on sep

 NOTICE: Failure to comply with the conditions of this
                                                   his order may
                                                             m
                                                             ma result in revocation of your release and your arrest and
                                                ity.
 detention by the Department of Homeland Security.
                                IF
                             RT




                                                                                                         AMANDO MENDEZ JR
                                                                                                         Date: 2023.12.18 01:13:02 -06:00
                                                                                                         0530473298.CBP
                                                                                                                        (Signature
                                                                                                                        (Si   t        DH Offi
                                                                                                                                   off DHS Official)
                                                                                                                                                i l)

                                                                                            Acting/Patrol Agent in Charge
                          CE




                                                                                                                       (Printed Name and Title of Official)


                                          Alien's Ack
                                                  Acknowledgment of Conditions of Release on Recognizance
                                                  Ackn

I hereby acknowledge that I have (read) (had interpreted and explained to me in the                     SPANISH                 language)
                        UN




                       itions
                          ons of my re
and understand the conditions       release as set forth in this order. I further understand that if I do not comply with these
                      ment of Hom
conditions, the Department    Home
                              Homeland Security may revoke my release without further notice.
                                      CARLOS O LOPEZ                                                                                                          12/18/2023
CARLOS LOPEZ                          Date: 2023.12.18 03:34:54 -06:00
                                      0692494779.CBP
            (Signature of Immigration Officerr Serving Ord
                                                        Order)
                                                        O der)
                                                            er                                      (Signature of Alien)                                         (Date)


                                                                         Cancellation of Order

I hereby cancel this order of release because:                       The alien failed to comply with the conditions of release.
      The alien was taken into custody for removal.
                                                                                    (Signature of Immigration Officer Canceling Order)                               (Date)

                                                                                                                                               Form I-220A (Rev. 08/01/07) N




                                                                                                                                                 Government Exhibit 3
                                                                               Page 26 of 30
